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                            UNITED STATES DISTRICT COURT
7                    FOR THE EASTERN DISTRICT OF WASHINGTON
8    UNITED STATES OF AMERICA,                      )
                                                    )
9                        Plaintiff,                 )        NO. CR-09-166-LRS-2
                                                    )
10   v.                                             )        ORDER GRANTING
                                                    )        UNOPPOSED MOTION AND
11   SHANE JOE O’CONNOR                             )        REMOVING ELECTRONIC
                                                    )        MONITORING
12                       Defendant.                 )
13

14           The Defendant, Shane O’Connor, having brought an unopposed Motion to
15   modify his conditions of release by removing electronic home monitoring
16   requirement,
17           IT IS ORDERED that the unopposed Motion (Ct. Rec. 62) is GRANTED.
18   Defendant’s release conditions are modified to the extent that the requirement of
19   electronic home monitoring is removed. All other conditions of release shall remain.
20           DATED May 25, 2010.
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22                             S/ CYNTHIA IMBROGNO
23                        UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING UNOPPOSED MOTION AND REMOVING
     ELECTRONIC MONITORING
